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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                          )
                                                 )     Chapter 7
 START MAN FURNITURE, LLC, et al.,               )
                                                 )     Case No. 20-10553 (CTG)
                   Debtors.                      )
 ____________________________________            )     (Jointly Administered)
                                                 )
 ALFRED T. GIULIANO, in his capacity as          )
 Chapter 7 Trustee of Start Man Furniture,       )
 LLC, et al.,                                    )     Adversary No. 22-50201 (CTG)
                                                 )
                        Plaintiff,               )
                                                 )
 vs.                                             )
                                                 )
 MILESTONE INTERNET                              )
 MARKETING, INC.,                                )
                                                 )
                   Defendant.                    )
 ____________________________________

                                     NOTICE OF SERVICE

          The undersigned hereby certifies that on November 27, 2023 a true and correct copy of
DEFENDANT MILESTONE INTERNET MARKETING, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF'S FIRST
SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS were timely
caused to be served via First-Class U.S. Mail, postage prepaid, upon the following counsel:
                                     Jeff P. Nolan, Esq.
                                    Peter J. Keane, Esq.
                           PACHULSKI STANG ZIEHL & JONES LLP
                              919 North Market Street, 17th Floor
                                   Wilmington, DE 19801

                                       (Counsel for Plaintiff)


                                                     /s/ Gregory W. Hauswirth
